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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


In re:

MASSA FALIDA DO BANCO
CRUZEIRO DO SUL S.A.,                                                        Case No.:14-22974 – LMI
                                                                             Chapter 15
       Debtor in a Foreign Proceeding
___________________________________/

LASPRO CONSULTORES LTDA.,
a Brazilian Sociedade Limitada,
                                                                Adversary Proceeding no.: 16-01315-LMI
         Plaintiff

v.

ALINIA CORPORATION, a British
Virgin Islands Company Limited by Shares,
110 CPS, INC., a British Virgin Islands
Company Limited by Shares,

       Defendants.
____________________________________/

                       PLAINTIFF’S RESPONSE TO DEFENDANTS’
                      MOTION TO DISMISS AMENDED COMPLAINT

         Plaintiff, Laspro Consultores LTDA, Trustee of BCSUL (“BCSUL”) (“Plaintiff”),

responds to Defendants’ Motion to Dismiss Amended Complaint (“Motion”), and states:

                                      Summary of Argument

         Standing. Defendants argue Plaintiff lacks standing because they allege that §1521(a)(7)

precludes the New York Avoidance claims. However, that section only bars specific avoidance

actions where §544 grants standing. Plaintiff’s standing to assert the New York Avoidance

claims stems from its status as “creditor” as defined under NY DCL §270 and thus is

independent of §544. Alternatively, Plaintiff as successor to the debtor is a creditor of the former



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officers and directors (the “da Costas”) making the Defendants here (entities to which the da

Costa’s transferred assets using funds secreted from Debtor) fraudulent transferees.

       Defendants also assert that Plaintiff lacks standing because it did not (and was required

to) obtain authority from the Brazilian Court to hire counsel and file this action. Although the

Plaintiff did have authorization from the Brazilian court to engage counsel, such authorization is

not an element of the claims.

       Next, Defendants assert Plaintiff lacks standing because despite the Freeze Order, the

Brazilian Court did not determine that the property of Defendants is property of the estate.

However, the Freeze Order itself does not specify that a Brazilian Court must determine claims

related to the assets of the da Costas. Even if it did, the Brazilian Court rendered an order on

May 6, 2015 granting seizure of the property of the da Costas and some of their companies

(“Order”). A true and correct copy of the Order is attached hereto as Exhibit “1”. Moreover,

the notion that Brazilian Courts must first adjudicate whether or not the property that is the

subject of the complaint is property of the estate before the complaint can be filed defies logic.

Chapter 15 was designed for that purpose, given that the property at issue is outside of Brazil and

a Brazilian Court lacks in rem or quasi in rem jurisdiction to adjudicate rights related to it.

       Statute of Limitations. The Defendants’ statute of limitations arguments fail because (a)

under Article 132, the Article 130 claim must be brought within three years of the initiation of

the bankruptcy proceeding (August 12, 2015) and there is no limitation to the period you can

look back to revoke transactions; (b) under Law 8.078/1990, Article 27, the statute of limitations

is five (5) years starting from the discovery of the damage and its cause (at earliest August 12,

2015), (c) under Article 206 (which provides the statute of limitations for the Article 844 claim),

the statute of limitations also does not start to run until the plaintiff has knowledge of the damage

                                                    2

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and can identify its cause (again at earliest August 12, 2015), pursuant to the concept of “Actio

Nata” in Brazilian law.

       The creditor body is primarily victims of the fake loan scheme and false dividends

claimed by the da Costas (who were also depositors). Law 8.078/1990 establishes that all

victims are treated as “consumers”. As to the Article 186 claim, there is no inconsistency in

Plaintiff’s allegations, and, even if there were, Plaintiff is permitted to plead in the alternative.

Accordingly, the Brazilian Law Claims are each appropriate for the redress sought.

       Aiding/Abetting. Defendants’ assertion that an entity cannot aid and abet its principal’s

torts as a matter of law, is simply incorrect. Defendants cite no law preventing a corporation

being held liable for aiding and abetting where the director of a corporation committed torts

against a victim with no relationship to the corporation. The cases cited by Defendants are

distinguishable as they all involved shareholders suing corporations in which they held shares for

breach of fiduciary duty and against directors for aiding and abetting the breach.

    Standard on a Motion to Dismiss Raising Standing and Subject Matter Jurisdiction

       “Because standing is jurisdictional, a dismissal for lack of standing has the same effect as

a dismissal for lack of subject matter jurisdiction under Fed.R.Civ.P. 12(b)(1).” Cone Corp. v.

Fla. Dep't of Transp., 921 F.2d 1190, 1203 n. 42 (11th Cir.1991). Thus, dismissal for lack of

standing and/or subject matter jurisdiction is not on the merits and is without prejudice. See

Stalley ex rel. U.S. v. Orlando Reg'l Healthcare Sys., Inc., 524 F.3d 1229, 1232 (11th Cir. 2008).

       A dismissal on subject matter jurisdiction grounds can be either a facial or factual attack.

See id. at 1232. In a facial attack, the court, similar to a 12(b)(6) motion, merely determines if

there is a sufficiently alleged basis of subject matter jurisdiction with the allegations in the

complaint taken as true. See id. at 1232 – 33. See McElmurray v. Consol. Gov't of Augusta-

                                                    3

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Richmond County, 501 F.3d 1244, 1251 (11th Cir. 2007); Benson v. QBE Ins. Corp., 2014 WL

6621068 (S.D. Fla. Nov. 21, 2014). Alleged facts outside of the complaint cannot be considered.

See City of Miami v. Citigroup Inc., 801 F.3d 1268 (11th Cir. 2015); Lawrence v. Dunbar, 919

F.2d 1525, 1529 (11th Cir.1990); Stalley ex rel. U.S. v. Orlando Reg'l Healthcare Sys., Inc., 524

F.3d 1229, 1233 (11th Cir. 2008).

       A factual attack challenges the existence of subject matter jurisdiction using material

extrinsic from the pleadings, such as affidavits or testimony. See id. A factual attack makes the

motion akin to a summary judgment where it must be denied if conflicting evidence raises an

issue of material fact. See Bischoff v. Osceola County, Fla., 222 F.3d 874, 884 (11th Cir. 2000).

       Generally, a plaintiff shows standing by adequately alleging and proving, three elements:

(1) suffering an “injury-in-fact;” (2) a causal connection between the asserted injury-in-fact and

the conduct of the defendant; and (3) that the injury likely will be redressed by a favorable

decision. Dunn v. Gleason Four, Inc., 35 NDLR P 143 (M.D. Fla. 2007).

              Plaintiff Has Standing to Bring the New York Avoidance Claims

       §1521(a)(7). Defendants assert that since 11 U.S.C §1521(a)(7) precludes avoidance

actions under §544, Plaintiff cannot bring state-law fraudulent conveyance and constructive trust

claims. However, Section 1521(a)(7) contains no such prohibition. As Defendants highlighted

in the Motion (p.5), state-law avoidance claims are not specifically enumerated in 1521(a)(7).

This exclusion is significant – and dispositive. While section 1521(a)(7) does not permit a

foreign trustee bringing an avoidance claim under enumerated chapter five provisions, “[t]his

does not mean, however, that ancillary chapter 15 foreign trustees are prohibited from bringing

all avoidance actions.” See In re Hellas Telecommunications (Luxembourg) II SCA, 535 B.R.

543, 586 (Bankr. S.D.N.Y. 2015) (allowing foreign trustees to bring foreign-law avoidance

                                                   4

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claims); In re Condor Ins. Ltd., 601 F.3d 319 (5th Cir. 2010) (foreign trustee had standing to sue

for fraudulent transfers under Nevis law).

        Sections 1521(a)(5) and particularly 1509(b)(1)1 are consistent with the notion that

Plaintiff has standing here without the use of Section 544. For example, many courts have held

that receivers (with no benefit of Section 544) have standing to pursue fraudulent

conveyances/fraudulent transfers. See, e.g., Scholes v. Lehmann, 56 F.3d 750, 754 (7th Cir.

1995) (receiver has standing to sue transferees as a creditor under Illinois fraudulent conveyance

law where corporate principal engaged in a Ponzi scheme); Fed. Nat. Mortg. Ass'n v. Olympia

Mortg. Corp., 04-CV-4971 NG MDG, 2011 WL 2414685, at *7 (E.D.N.Y. 2011) (following

Scholes and ruling that a receiver had standing to sue for fraudulent conveyances under New

York Law); Friedman v. Wahrsager, 848 F. Supp. 2d 278 (E.D.N.Y. 2012) (receiver had

standing to sue for fraudulent conveyances under New York law). Additionally, many courts

interpret Section 1521(a)(7)’s language to mean that foreign trustees have standing to bring

avoidance actions aside from those listed there. See, e.g., Malone v. Iceberg Transport S.A. (In

re Hold & Appel Transfer S.A.), 2013 WL 4824428, at *21 (Bankr. D. D.C. Sept. 6, 2013)

(foreign representative could assert District of Columbia fraudulent conveyance claims)23;


    1
        11 U.S.C. §1509(b)(1) reads, in pertinent part, as follows:

     (b) If the court grants recognition under section 1517, and subject to any limitations
that the court may impose consistent with the policy of this chapter--
     (1) the Foreign Trustee has the capacity to sue and be sued in a court in the United
States;
    2
         Case law interpreting former section 304 remains persuasive authority in interpreting Chapter 15.
See, e.g., In re Atlas Shipping A/S, 404 B.R. 726, 741 (Bankr. S.D.N.Y. 2009).
    3
        11 U.S.C. §544 was not available to the plaintiff. See Malone v. Iceberg Transport S.A. (In re
Hold & Appel Transfer S.A.), 2013 WL 4824428, at *2 n. 3 (Bankr. D. D.C. Sept. 6, 2013) (“A case
under § 304 of the Bankruptcy Code does not vest a foreign representative with the powers of a trustee
under § 544.”).
                                                      5

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American Pegasus SPC v. Clear Skies Holding Co., LLC, 1:13-CV-03035-ELR, 2015 WL

10891937, at *16 (N.D. Ga. 2015) (denying motion to dismiss Georgia state law avoidance

claims, Georgia state law unjust enrichment claims as well as foreign-law avoidance claims); In

re Condor Ins. Ltd., 601 F.3d 319 (5th Cir. 2010) (foreign representative could bring foreign-law

avoidance claims); In re Awal Bank, BSC, 455 B.R. 73 (Bankr. S.D.N.Y. 2011) (foreign

representative could bring §553(b) claim); In re AJW Offshore, Ltd., 488 B.R. 551 (Bankr.

E.D.N.Y. 2013) (foreign representative could bring section 542 and 543 claims).

        Brazilian Law. Plaintiff’s status is supported by Articles 75(v) of the Brazilian Code of

Civil Procedure and 22(III) of the Brazilian Bankruptcy Law. Under Brazilian Bankruptcy Law

(11.101/05), when a corporation declares bankruptcy, the corporation ceases to exist and the

“Massa Falida”4 comes into existence as a distinct legal entity in its place, similar to the US

bankruptcy law concept of the estate. See Resp 660.263/RS, Rap. Justice Eliana Calmon,

judgment date 03/21/2006. Under Article 22, Plaintiff has a duty to represent the interests of the

Massa Falida and its creditors5. Thus, under Article 75(v) of Brazil’s Code of Civil Procedure,

the Massa Falida is represented by an officeholder (here, Plaintiff) in legal proceedings.

        New York Law. Under NY DCL §270, “Creditor” “is a person having any claim,

whether matured or unmatured, liquidated or unliquidated, absolute, fixed or contingent.”

Plaintiff alleges that Debtor’s directors (the “da Costas”) secreted funds ultimately used to



    4
         Massa Falida literally translated means, “Bankrupt Mass”. It encompasses creditors to a greater
extent than the American legal term “Estate” and includes and subsumes all causes of action that arise out
of the insolvency, regardless of whether or not they belong to the creditors. See Article 75 (v) of Brazil’s
Code of Civil Procedure.
    5
        Article 22(III)’s relevant provisions, as well as the relevant provisions of other Brazilian statutes,
are provided along with English translations in Exhibit “2”, attached hereto.

                                                       6

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purchase the real property and artwork held by the Defendants. Under New York Fraudulent

Conveyance Law, creditors of the Debtor – and entities representing creditors of the debtor -- can

sue to avoid fraudulent conveyances. See, e.g., Tuitt v. Tuitt, 36 Misc. 2d 418, 422, 232

N.Y.S.2d 973 (Sup. Ct. 1962)(administratrix owed alimony could sue to set aside fraudulent

conveyances made by decedent and/or his wholly owned corporation, individually or in her role

as administratrix); Bernheim v. Burden, 253 A.D. 232, 233, 1 N.Y.S.2d 689, 690 (App. Div.

1938)(“… for an action is likewise maintainable by a receiver to set aside a fraudulent

conveyance under the Debtor and Creditor Law.”); Scola v. Morgan, 66 A.D.2d 228, 233, 412

N.Y.S.2d 893, 896 (1979) (“The fact that the fraud was perpetrated on one other than plaintiff is

neither relevant nor dispositive. Foreign Trustee, as trustee, stands in the shoes of the creditor for

whom substitution was directed.”); Awal, supra. Alternatively, under New York Fraudulent

Conveyance Law, an entity representing the Debtor can sue to avoid transfers made by the

Debtor to initial or subsequent transferees. See, e.g., Scholes v. Lehmann, 56 F.3d 750 (7th Cir.

1995); Fed. Nat. Mortg. Ass'n v. Olympia Mortg. Corp., 04-CV-4971 NG MDG, 2011 WL

2414685 (E.D.N.Y. 2011); Friedman v. Wahrsager, 848 F. Supp. 2d 278 (E.D.N.Y. 2012).

       Constructive Trust. As to the constructive trust claim, New York courts hold that a

confidential or fiduciary relationship, and the other usual elements of a constructive trust, are not

always required, so long as “continued holding of the property in question by the defendant be

deemed unconscionable and inequitable, and the return of the property be necessary to prevent

unjust enrichment.” See Ackerman v. Ventimiglia (In re Ventimiglia), 362 B.R. 71, 86

(Bankr.E.D.N.Y.2007); Marini v. Lombardo, 79 A.D.3d 932, 933, 912 N.Y.S.2d 693, 696 (2010)

(“[T]hese elements serve only as a guideline, [and] a constructive trust may still be imposed even

if all the elements are not established.”); 106 N.Y. Jur. 2d Trusts § 166 (noting that “the

                                                    7

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constructive trust doctrine is not rigidly limited by the four commonly stated elements”).

Therefore, constructive trust remedies may be invoked in cases involving fraud, conversion, or

duress. See, e.g., Robinson v. Day, 103 A.D.3d 584, 960 N.Y.S.2d 397 (2013); Duran v.

Bautista, 47 Misc.3d 1207(A), No. 654261, 2015 WL 1567020 (N.Y.Sup. Apr. 7, 2015); 106

N.Y. Jur. 2d Trusts § 233; see also In re British Am. Ins. Co. Ltd., 488 B.R. 205 (Bankr. S.D.

Fla. 2013) (rejected 1521(a)(7) argument where officers and director sued).

       Many of the cases cited by Defendants are unavailing as they did not involve the alleged

interplay of §544 with §1521(a)(7). Berman v. Smith, 510 B.R. 387 (S.D. Fla. 2014), In re

Bankest Capital Corp., 374 B.R. 333, 337-38 (Bankr. S.D. Fla. 2007), Old Naples Securities,

Inc., 343 B.R. 310 (Bankr. M.D. Fla. 2006), In re Trinsum Group, Inc., 460 B.R. 379 (Bankr.

S.D.N.Y. 2011), In re White Metal Rollin and Stamping Corp., 222 B.R. 417 (Bankr. S.D.N.Y.

1998) and In re Dreier LLP, 462 B.R. 474 (Bankr. S.D.N.Y. 2011).6

       On the constructive trust issue, the cases cited by Defendants contain no holdings or

statements that constructive trust theories can only be asserted through §544. See Matter of

Fidelity Electronics Ltd., Inc., 52 B.R. 475 (Bankr. S.D. Fla. 1985), In re Janis, 60 B.R. 349

(Bankr. S.D. Fla. 1986) or In re S. Florida Title, Inc., 104 B.R. 489 (Bankr. S.D. Fla. 1989).

                         Plaintiff’s Authorization to Bring This Action

       While Defendants assert that Plaintiff lacks standing because it did not allege it had

authority to engage counsel here, commence the bankruptcy or file this action, Defendants ignore

that this chapter 15 petition was filed seeking recognition of the liquidation proceeding before

the Central Bank of Brazil. See Verified Petition for Recognition of Foreign Main Proceeding

Pursuant to Sections 1515 and 1517 of the Bankruptcy Code, composite Exhibit B (D.E. 2) (in

   6
       Dreier cites Scholes with approval on a different legal point. See In re Dreier LLP, 462 B.R. at
485.
                                                    8

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main case). On August 12, 2015, the Brazilian case was converted to a court supervised

bankruptcy. See Omnibus Motion to Substitute Foreign Representative for Banco Cruzeiro do

Sul, S.A. and Notice of Subsequent Information, Exhibit A (D.E. 28) (in main case). Moreover,

Defendants failed to inform the court that the Brazilian bankruptcy file is comprised of at least

two sealed files which access is limited to the Plaintiff and the prosecutor that supervises the

case. Instead, they offer the affidavit of Rafael Barud Casqueira Pimenta (“Pimenta”), who fails

to mention that the Brazilian bankruptcy case has sealed files which he cannot access, and

concludes simply that such authorization is required.7 Article 22 of the Brazilian Bankruptcy

Law, discussed supra, specifies that the trustee must act to protect the interests of the estate and

can even be held personally responsible for not doing so. Thus, the ability to retain counsel and

pursue this lawsuit is contained within Article 22, and the Plaintiff did have such authorization as

evidenced by the recent motion filed by the São Paulo Public Prosecutor.

        Defendants argument regarding the questions posed by the São Paulo Public Prosecutor

(see Motion, Exhibit 1) omit that the Public Prosecutor requested justification for the accusations

made by the da Costas as to the alleged lack of authorization to engage counsel. Indeed, the São

Paulo Prosecutor, upon learning of the arguments and the Defendants’ misuse of his prior

request, filed a manifestation (notice) in the open bankruptcy file expressly rebutting

Defendants’ argument regarding the Plaintiff’s lack of authorization.

        In that notice, the Prosecutor makes clear that “There was, at no time, the questioning

alleged [by the Defendants], even because the authorization for the engagement [of U.S. counsel]

was made in a file separated from the main proceedings, established for the purpose of locating


    7
         Defendants failed to advise this Court that Pimenta is an attorney hired by the da Costas to defend
their interests in the Brazil Bankruptcy case. See Power of Attorney, attached hereto as Exhibit “3”.
Thus he is hardly an impartial expert on Brazilian law.
                                                      9

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and collecting assets of the bankrupt estate. The aforementioned file was established under seal

to prevent the bankrupt parties [from dissipating] the assets before their collection.” See Notice

Filed by the São Paulo Public Prosecutor, dated November 9, 2016, attached hereto as Exhibit

“4”. The Prosecutor describes how his office overseas the sealed file and states that “all

measures taken by the Judicial Administrator to file abroad, including case 16-01315-LMI, were

duly authorized by the bankruptcy judge after the opinion of the Public Prosecutor’s Office, and

its actions are in accordance to the provisions of article 22 (…).” Id. To assure that this Court

understands the Prosecutor’s position, the notice emphatically concludes “that bankrupted party

attempt to mislead the United States Bankruptcy Court of Florida Miami Division, with a

misleading statement about the opinion of the Public Prosecutor's Office and the procedures

adopted by this [Brazilian] Court[.]” Id. In closing, the Prosecutor requires that the Plaintiff

provide a copy of his statement and a translation thereof for reference by this Court. Id.

       Next, Defendants assert that under their reading of the “Brazilian Freeze Order” it

establishes that a Brazilian court must determine whether the assets of the da Costas are to be

subjected to claims of the Estate, and until such time, the foreign trustee can have no claim

against the property that is the subject of the Complaint. This is incorrect for several reasons.

       First, Defendants take the position that assets owned by them (which are not currently

owned by the da Costas) are the subject of the Brazilian Freeze Order. They are not. As pleaded

in the Complaint, the assets are owned by the Defendants who were not subject of the freeze

order. Second, assuming the assets are within the Brazilian Freeze Order, that Order merely

states the property is frozen until a final verification of their responsibilities. It does not require

that determination be made by a Brazilian Court nor does it enjoin the Plaintiff from filing the

instant action. Third, the Brazilian Court already issued an order of seizure as to the assets of the

                                                    10

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da Costas and certain of their entities, not the Defendants. See Exhibit “1.” Fourth, the assets

are located in the US, not in Brazil, which dovetails to the exact purpose of Chapter 15 to allow

foreign trustees access to US courts to adjudicate rights and claims regarding property or person

in the US. Logically, the Brazilian Court lacks in rem jurisdiction over US assets and may lack

in personam jurisdiction over Defendants.8

           The Brazilian Law Claims Are Not Barred by the Statute of Limitations

        The Brazilian Law Claims are also not barred by the statute of limitations.9 As to the

Article 130 Claim, Defendants are incorrect. According to Article 132, the Article 130 claim

shall be filed by the judicial administrator, by any creditor, or by the Public Prosecutor within

three (3) years from the decree of bankruptcy. See Legal Opinion of Roberto Garcia de Assis

Oliveira (“Legal Opinion”), attached hereto as Exhibit “5”, ¶¶9-22. The decree of bankruptcy

occurred on August 12, 2015. See Omnibus Motion to Substitute Foreign Representative for

Banco Cruzeiro do Sul, S.A. and Notice of Subsequent Information, Exhibit A (D.E. 28) (in

main case). Thus, the statute of limitations would not run until August 12, 2018.

        As to the Claim based upon Law 8.078/1990, the limitations period is five (5) years, but

this period did not begin to run until August 12, 2015 because Law 8.078/1990 (Consumer

Code), Article 27 states that the limitations period for damage claims is five years, counted from

the discovery of the damage and its cause. See Legal Opinion, ¶¶ 26 and 27. It is self-evident

that the trustee could only discover the damage and identify its cause after a trustee was duly



    8
        Interestingly, the Motion does not seek dismissal on forum non conveniens grounds which would
require submission by the Defendants to the jurisdiction of the Brazilian Court.
    9
         Again Defendants proffer an affidavit of a Brazilian attorney (this time Flavio Antonio Esteves
Galindo) (“Galindo”) yet fail to disclose that Galindo also was hired by the da Costas to defend their
interests in the Brazilian Bankruptcy Court. See Power of Attorney, attached hereto as Exhibit “3”.
                                                    11

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appointed after the bankruptcy decree. Since the trustee was not appointed until August 12,

2015, the limitations period does not run until August 12, 2020. See id.

         As to the 844 Claim, the limitations period is three years under Article 206, but, under the

concept of “Actio Nata” in Brazilian law10, this period did not begin to run until there was

knowledge of the damage and identification of its cause. See id., ¶¶ 23-25. Thus, the limitations

period did not begin to run until August 12, 2015, the trustee’s appointment date.



    10
         “‘Actio Nata’ is the legal theory that captures the understanding that the limitations period or the
preclusive injury only begins with the knowledge of such injury by the interested party.” See De Plácido
e Silva, Vocabulário Jurídico, Editora Forense, Rio de Janeiro, 2006, 27ª edição, p. 57. The Actio Nata
theory is unanimously applied in Brazilian courts:

                    [...]in cases such as this, without proof of clear knowledge of
                contamination of their daughter, or their property, due to toxic products
                released in the area, it could not be required [that the plaintiff file the
                case] to file the demand. This is the line of thought that has been adopted
                by this Court in several situations, in terms of the following: ‘The initial
                term of the limitation period for the filing of an action for indemnity
                against an act of the State, for moral and material damages, [begins
                to run] from the moment of unequivocal knowledge of the effects,
                resulting from the harmful occurrence.’

    See Resp 909,990 /PE, Rap. Justice Arnaldo Esteves Lima, DJe 6/15/2012) (emphasis added).

                    ... the jurisprudence of this Court has established itself in the sense
                that the limitation period of an action to indemnify irreversible damage
                caused by medical error, begins to flow from the moment that the victim
                acquired clear knowledge of his/her disability as well as the extent of
                his/her disability. Application of the of the Actio Nata Principle'. (AgRg
                in AG 1,098,461 /SP, Rap. Justice Raul Araujo, DJe 8/2/2010 ) '...
                [U]nchallenged, therefore, remains, that to establish the date when
                the Statute of Limitations should start running, one has to rely on
                the regular development of the process/occurrences to determine
                such, as the case in point, when the injured/[plaintiff] noted the
                possible linkage between the disease of his/her daughter and the
                environmental damage. Thus, the conclusion of this ruling stands, in
                view that the dismissal of the action was precipitated, in the sense that it
                mistakenly took the news from the press as the start of the limitation
                period.

    See Resp 1.346.489/RS – 6/11/2013 (emphasis added).

                                                      12

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           Plaintiff’s Claims Based Upon Article 186 and law 8.078/1990 Are Valid

         Defendants assert that Law 8.078/1990 is a consumer protection statute designed to

provide a remedy to those who have purchased “shoddy goods or services.”                        Shockingly,

Defendants assert that there is “no allegation in the Amended Complaint that Debtor’s banking

services damaged anyone” and that “no harm caused by banking services has been alleged”. Of

course, the Amended Complaint describes the falsified loan scheme where the da Costa’s simply

manufactured fake loans (paragraphs 9-17), the artificial inflating of asset values on BCSUL’s

books and records (paragraphs 9-17), and distributing dividends to themselves (paragraph 18).

         Law 8.078/1990 provides relief to all victims. See Law 8.078/1990, Article 17. As

stated, supra, part of the creditor body is comprised of depositors who lost their deposits.

Additionally, Law 8.078/1990 provides that all entities connected to the damages can be directly

(without proof of intent) held liable. See Law 8.078/1990, Section III, Article 14, and Art. 25,

§1. Far from “missing the target”, Counts IX, XXI and XXXIII hit it head-on. Clearly, depositors

are consumers who were damaged by BCSUL taking their deposits and using them to “make”

the fake salary loans and which allowed the illicit transfer of dividends.

         Defendants’ argument as to the Article 186 claim is that it contradicts Plaintiff’s other

claims. Even assuming that is correct (it is not)11, Plaintiff may plead claims in the alternative.

See Fed.R.Civ.P. 8(e)(2); Allstate Ins. Co. v. James, 779 F.2d 1536, 1540 (11th Cir. 1986); Finch

v. Morgan Stanley & Co. LLC, 15-81323-CIV, 2016 WL 4248248, at *10 (S.D. Fla. 2016).




    11
         It is clear that an assertion that “[parties 1 and 2] caused BCSUL to transfer funds to [parties 3
and 4]” is not necessarily inconsistent with an assertion that “[parties 3 and 4] participated in a scheme of
falsified loans pursuant to which funds were … diverted by [parties 3 and 4] for their benefit”, especially
when dealing with the nuances of limited liability entities acting through their principals.
                                                      13

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                         Corporations Can Aid and Abet Their Principals

         Defendants assert that since they are entities controlled by the da Costas and they could

only act through their directors they could not, as a matter of law, have aided and abetted their

directors’ underlying torts. The case law cited by Defendants involves claims by shareholders of

a company claiming the company aided and abetted the misconduct of a director or officer and

thus are inapposite here. If the Defendants are correct that for aiding and abetting purposes the

Court should disregard their separateness, then Plaintiff asks for leave to sue Defendants directly

for conversion, fraud and breach of fiduciary duty.

         The Court Has Subject Matter Jurisdiction Over the Claims in the Complaint

         Defendants’ argument can be stated as -- because Plaintiffs lack standing to sue, this

Court lacks subject matter jurisdiction.12 Thus, Defendants’ subject matter jurisdiction argument

is completely dependent upon their standing arguments and fails for the reasons stated above.

Further, each case cited by the Defendants is a case in which a federal court found it lacked

subject matter jurisdiction after finding the plaintiff(s) lacked standing to sue. In framing their

argument, Defendants conflate the inability to seek a particular remedy with lack of


    12
         In other words, Defendants have not argued that this Court lacks subject matter jurisdiction under
28 U.S.C. §§157, 1334(b) and/or Local Rule 87.2 of the United States District Court for the Southern
District of Florida.

     Additionally, Defendants base their arguments on lack of standing based upon a lack of redressability.
However, those arguments do not support a lack of standing. The argument as to 1521(a)(7) is akin to a
failure to state a claim, and the arguments as to failure to obtain authorization and failure of a Brazilian
Court to find the assets of the da Costas may be pursued. If Defendant were correct, every motion to
dismiss based upon failure to state a claim and failure to satisfy a condition precedent would also be
arguing lack of standing and lack of subject-matter jurisdiction. It is self-evident that this is not correct.
Nowhere do Defendants argue – nor could they, with any credibility – that the Massa Falida did not
sustain an injury which is redressable, or that Plaintiff is not the proper party to pursue the claims in the
Amended Complaint. Nor do Defendants cite any legal authority in support, aside from general caselaw
regarding subject-matter jurisdiction, in support of such a “novel” argument.


                                                      14

                                   ASTIGARRAGA DAVIS MULLINS & GROSSMAN, P.A.
             Case 16-01315-LMI         Doc 33       Filed 11/14/16           Page 15 of 47




redressability. The two are not equal. The Defendants’ subject matter challenge should be

rejected for all of the same reasons their standing challenge fails.

       WHEREFORE, the Plaintiff requests this Court enters an order denying the Motion and

ordering the Defendants to respond to the Complaint within a time certain. Alternatively,

Plaintiff requests that this Court grant leave to amend if it determines the Motion will be granted.

                                                         Respectfully submitted,

                                                         ASTIGARRAGA DAVIS
                                                         MULLINS & GROSSMAN, P.A.
                                                         1001 Brickell Bay Drive, 9th Floor
                                                         Miami, Florida 33131
                                                         Telephone (305) 372-8282
                                                         Facsimile (305) 372-8202

                                                By:      /s/ Gregory S. Grossman
                                                         Edward H. Davis
                                                         Fla. Bar No. 704539
                                                         edavis@astidavis.com
                                                         Gregory S. Grossman
                                                         Florida Bar No. 896667
                                                         ggrossman@astidavis.com
                                                         Arnoldo Lacayo
                                                         Fla. Bar No. 675482
                                                         alacayo@astidavis.com
                                                         Daniel M. Coyle
                                                         Fla. Bar No. 055576
                                                         dcoyle@astidavis.com


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via
electronic filing using the CM/ECF system with the Clerk of the Court which sent e-mail
notification of such filing to all CM/ECF participants in this case and via regular US mail to all
participants who are not on the list to receive e-mail notice/service for this case on November 14,
2016.
                                                       /s/ Gregory S. Grossman
                                                       Gregory S. Grossman



                                                   15

                                ASTIGARRAGA DAVIS MULLINS & GROSSMAN, P.A.
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                                              EXHIBIT “1”
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                                                                                                    fls . 1




                                           CERTIDAO

ICertifico e dou fe que estes autos foram distribuidos a esta Vara Especializada por dependencia
 aos autos do Processo n° 0027885-29.2013, do Inquerito instaurado pelo Banco Central do
,Brasil em face de Cruzeiro do Sui Holding Financeira S.A. (Liquida9ao Extra-Judicial), que se !
'encontra arquivado em Cart6rio (44 Volumes), para os devidos fins de direito. Em 03 de maio de l
 2013. Eu, Magaly Marques, Escrevente-Chefe, subscrevi.
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Requeridos:            Cruzeiro do Sui Holding Financeira S.A e outros                                             ..,.;
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apurados em regular inquerito, instaurado na forma da Lei 6.024/74,                antecipa~ao            0~
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de tutela ou medida de natureza cautelar, a fim de que sejam arrestados os bens                               8.-l!l
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dos demandados, fazendo referenda a atos danosos por eles praticados na gestao                            -co
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       Case 16-01315-LMI         Doc 33     Filed 11/14/16      Page 18 of 47
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                     Telefone: (11) 2171-6506- E-mail: sp2falencias@tjsp.jus.br

7°, do C6digo de Processo Civil, uma vez que vern amparado com invoca<;ao
su:ficiente de direito e do perigo da demora na presta<;ao jurisdicional final.

               Isto porque a peti<;ao inicial esta amparada pelas conclus6es do
inquerito instaurado pelo BANCO CENTRAL, constatando a existencia de
substancial prejuizo, da ordem de R$.2.236.782.000,00, em razao de nefasta na                                  ci
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administra<;ao, com destaque para opera<;6es sem libera<;6es de recursos para os                               80
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de recursos em fundos de investimentos em empresa nao financeira ligada a Luis                                 N
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denominada Morgan Stanley que teve por objetivo garantir o enquadramento do                          Oa>
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Banco nos regulamentos da BM&F Bovespa.                                                              w .£.
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               As condutas descritas e apuradas no inquerito administrativo podem                    ~~
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tipificar infrac;oes penais previstas na legisla<;ao vigente, alem da infringencia as                Wei
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normas administrativas da autoridade monetaria.                                                      <( ' (ij'
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               Enfim, ante estas conclusoes, indiscutivel que os administradores e                   t)~
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controladores poderao vir a responder, total ou parcialmente, pelo prejuizo ja                           Q)    ·u;
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constatado e ha possibilidade de desaparecimento de bens que podem vir a                              ~
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constituir garantia aos diversos credores da instituic;ao em liquida<;ao extrajudicial.              :Om
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               Assim, defiro o arresto pretendido, para evitar dano irreparavel ou de                ·~~
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          Case 16-01315-LMI       Doc 33      Filed 11/14/16     Page 19 of 47
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dificil   repara~o,     ficando os hens sob deposito dos pr6prios acionados, salvo
pedido      noutro      sentido formulado,       fundamentadamente,       pelo liquidante,
observadas as formalidades legais, em particular as disposi<;5es do§ 2°, do art. 45
da Lei 6.024/74·

                 Verificara o cart6rio, na   expedi~o   dos mandados, os hens indicados
na peti~o inicial, constando a ressalva sabre bern de familia.

                 Para todos os efeitos de direito fica consignado que acompanha a
peti~o     inicial o inquerito administrative instaurado pelo Banco Central do Brasil,
dela fazendo parte integrante.

                 Determine, no mais, a cita<;ao dos Reus, ficando deferidos os oficios
pretendidos, inclusive aARISP.

                 Forme-se o apenso para a juntada das informa<;oes que forem
prestadas e notifique-se o liquidante;

                 2) Com rela~o as Res empresas de auditoria, o pedido de arresto
sera apreciado ap6s a regular      apresenta~o     de defesa, uma vez que nao houve, em
rela<;ao a elas, a       declara~o   de indisponibilidade declarada pela autoridade
monetaria. Citem-se.

                 Int.

                 Sao Paulo, 14 de maio de 2013.


                                     DATA

                  Em      de._ _ _ _ _de_ _ _ recebi estes autos em Cart6rio.

                  Eu,_ _ _ __ _ _ Escrevente, subscr.




                                                  Processo n° 0031335-77.2013.8.26.0100 - p. 3
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            SAo Paulo
                               Case 16-01315-LMI                    Doc 33          Filed 11/14/16              Page 20 of 47
        Tradus;ao n° l-36276
        Livro n° 451                                                                           Sandra~Regina Mattos Rudzit
        Folha 178
                                                                                                                                                7RADUTORA PUBUCA




        1, Scmdra IV.~ina Alattos Rttd:jt, t-ertifiedp11blit' translat01~ d~tfy admitted and sworn by the Commenial Registry
        of the Jtate q( Siio Pattlo, Bratfl, hereby ~-ertify that a domnmtl wa.r submitted to me, written in Portt~guese, the
        tranJhliOJ1 of wbit:h is as follows:

        COURT OF APPEALS OF THE STATE OF SAO PAULO
        JUDICL\L DISTRlCT OF SAO PAULO
        CIVIL CENTRAL COURTHOUSE
        z"<~BANKRUPTCY AND COURT-~ CPERVISED REORGANIZATION COURT
                                                                      CERTIFICATE
        1 certify and attest that these records were distributed to this Specialized Court as a related case to the
        records of Case No. 0027885-29.2013, of the Investigation filed by the Central Bank of Brazil against
        Cruzeiro do Sui Holding Financeira S.A. (Extrajudicial Liquidation), which is filed in the Court Office
        (44volumes), for the due purposes of law. On May 3, 2013. I, Magaly Marques, Head Clerk, subscribed it.
                                                         SUBMISSION FOR DECISION
        On May 6. 2013, I forward these records ro the Honorable Judge of Law, Caio Marcelo Mendes de
        Oliveira. I, Magaly !vlarques, Head Clerk, subscribed it.
                                                                     COURT ORDER
        Case No.: 0031335-77.2013.8.26.0100 - Public Civil Action
        Claimant: Public Prosecutor's Office of the State of Sao Paulo
        Respondents: Cruzeiro do Sui Holding Financeira S.A. et al
        Judge of Law: Mr. Caio Marcelo Mendes de Oliveira
        Case records examined.
        1) The PUBLIC PROSECUTOR'S OFFICE of this State filed a liability civil action against the
        controlling company and managers of BANCO CRUZEIRO DO SUL S.A., established in this Capital
        City and which was subject to extrajudicial liquidation, by the CEJ:'\TRAL BANK OJ· BRAZIL, on
        September 14, 2012.
        The Plaintiff of the action intends. in addition to granting of the processing of the complaint, in which it
        requests the sentencing of the Defendants to the payment of losses ascertained in a regular ln\'estigation,
        filed pursuant to Law 6024/74, a request of early relief or injunction, in order to have the asse£S of the
        defendants seized, making reference to harmful acts performed by them during the management of the
        company and also to the strict liability resulting therefrom.
        And the claim shall be granted. even if not as early relief, but at least as a provisional remedy, as provided
        for in art. 273, § 7, of the Code of Civil Procedure, since it is supported with sufficient invocation of law
        and the danger of delay in the final adjudication.
        This is because the complaint is grounded on the findings of the investigation filed by the CENTRAL
        BANK, confirming the existence of substantial damage, of app.roximately R$2,236,782,000.00, due to
        disastrous ndministration, especially the operations without funds released for the alleged customers in
        order to simulate the granting of loans; investment of funds in a non-financial company linked to Luis
        Octavio de Azcredo Lopes Indio da Costa and Luis Felippc Tnclio da Costa; assignment of CCB'S to
        investment funds managed by Cruzeiro do Sui DTVM; mi leading of regularors regarding the amounr
        assigned to rhe FIDC shares entered in its balance sheet; issuance of CCB without backing; lack of
        provision for exposure to credit risk of the guarantees and sureties portfolio; tax e\'asion and
        communication of operations with signs of money laundering.



SANDRA REGINA MATIOS       ~UOZIT
                               • Tradutora Publicae lntllrprete Comerclal- PortuguAs • lng16s . Matrrcula na JUCESP n• 1688- CPF. 082 060       018~.     RG 8 222 837\,_,
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                            Case 16-01315-LMI                 Doc 33        Filed 11/14/16           Page 21 of 47
       Tradus;ao n° I-36276
       Livro n° 451
       Folha 179
                                                                                                                                   TRADUTORA PUBUC/l



       Among other acts, during d1e progress of d1e investigation, investments in V erax IAA Fund were verified
       wim errors and damaging commissions and also me transaction named Morgan Stanley, me purpose of
       which was to guarantee me classification of me Bank under BM&F Bovespa's regulations.
       The conducts described and assessed in ilie administrative investigation may typify criminal infractions
       provided for in the legislation in force, besides the infringement of ilie administrative rules of ilie
       monetary aumorities.
       Finally, due to such conclusions, it is unquestionable that ilie managers and controlling companies may
       come to be liable, wholly or in part, for the loss already verified and with possibility of disappearance of
       assets iliat may constitute a guarantee to the several creditors of the instirution under extrajudicial
       liquidation.
       Therefore, I grant ilie seizure sought, to avoid irreparable damage or damage difficult to repair, ilie assets
       becoming under ilie defendants' custody, unless if otherwise requested, on reasonable grounds, by ilie
       liquidator, subject to ilie legal formalities especially the provisions of § 2, of art. 45 of Law 6024/74.
       The court office shall verify, during ilie issue of ilie orders, all assets listed in ilie complaint, mentioning
       the exception to homestead right.
       For all purposes of law, be it registered iliat ilie administrative investigation filed by ilie Central Bank of
       Brazil is attached to the complaint, being an integral part thereof.
       ln addition, I order ilie Defendants to be summoned, and the intended official letters, including to
       ARISP, are hereby granted.
       1 order the formation of an exhibit for the gathering of information rendered and notify the liquidator;
       2) With regard to the Defendants audit firms, the request of seizure shall be considered after the regular
       filing of answer, as no declaration of unavailability was declared by the monetary authority in relation to
       them. Serve process.
       Notify.
       Sao Paulo, May 14'h, 2013.
       DATE
       On ________                          I received these records in the Court Office.
       I,.__ _ _ _ _ Clerk, subscribed it.
       Case No. 0031335-77.2013.8.26.0100- p . 3
       This document has been digitally signed by CAIO MARCELO MENDES DE OLIVEIRA.
       If printed, to check access website https:/ / csaj.tjsp.jus.br/ esaj,                                   inform       case     number
       003l335-77.2013.8.26.0100 and code 2S000000672LR.
       /1'/ W ITNESS WHE R EOF I set my hand and seal to this translation.
                                                                                                         Sao Paulo, May 6, 2015




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                                                                                                     SANDRA
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SANDRA REGINA MATTOS RUOZIT- Tredutors Publicae lnterprete Comerc1al- Portugu~s ·Ingles· Matrfcula na JUCESP n• 1688 • CPF 082.060.018-08- RG 8.222.837·1
           Rue Matias Aires. 402- 9" andar- 01309-020- Sao Paulo- SP- Brasil- Fone/Fax: 55-11-3155-7383- e-maiL just@just.trd.br- www.just.trd.br
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                                              EXHIBIT “2”
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APPENDIX OF RELEVANT                     BRAZILIAN          LEGAL        PROVISIONS          WITH
TRANSLATIONS


Art. 75 Civil Procedures Code


              PORTUGUESE                                               ENGLISH
          Art. 75. Serão representados em juízo,   Art. 75 Will be represented before the courts, active
ativa e passivamente:                              and passively:
          (...)                                    (…)
          V - a massa falida, pelo administrador   V- the bankrupt estate, by the judicial
judicial;                                          administrator.
          (...)                                    (…)




Article 206 of the Brazilian Civil Code

              PORTUGUESE                                               ENGLISH

Art. 206, Código Civil – Prescreve:                Art. 206, Civil Code – Statue of Limitations:
§ 3o Em três anos:                                 3rd § Within three years:
IV ‐ a pretensão de ressarcimento            de    IV – the claim for compensation for causeless
enriquecimento sem causa;                          enrichment;



Article 22 of the Brazilian Bankruptcy Law:

              PORTUGUESE                                               ENGLISH

Art. 27(III). Ao administrador judicial compete,   Art. 22(III). Under the supervision of the judge and
sob a fiscalização do juiz e do Comitê, além de    of the Committee, in addition to other duties that
outros deveres que esta Lei lhe impõe:             this law imposes, it is a duty of the trustee:

 c) relacionar os processos e assumir         a    c) report all pending claims and act as the
representação judicial da massa falida;            representative to the bankrupt estate;

d) receber e abrir a correspondência dirigida ao   d) receive and open the mail addressed to the
devedor, entregando a ele o que não for assunto    debtor, giving him what is not subject of the estate's
de interesse da massa;                             interest;

i) praticar os atos necessários à realização do    i) to carry out the necessary duties to sell the assets
ativo e ao pagamento dos credores;                 and pay the creditors;

l) praticar todos os atos conservatórios de        l) perform all acts to conserve rights and claims,
direitos e ações, diligenciar a cobrança de        arrange for the collection of debts and give the
dívidas e dar a respectiva quitação;               respective receipts;
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               PORTUGUESE                                                ENGLISH
n) representar a massa falida em juízo,              n) represent the bankruptcy estate in court, hiring,
contratando, se necessário, advogado, cujos          if necessary, lawyer, whose fees shall be previously
honorários serão previamente ajustados e             set and approved by the Creditors Committee;
aprovados pelo Comitê de Credores;
                                                     o) require all measures and steps which are
o) requerer todas as medidas e diligências que       necessary to comply with this Act, the estate
forem necessárias para o cumprimento desta           protection or the efficiency of the administration of
Lei, a proteção da massa ou a eficiência da          the estate;
administração;




Article 130 and 132 of the Brazilian Bankruptcy Law:

               PORTUGUESE                                                ENGLISH
Art. 130 São revogáveis os atos praticados com       Art. 130 Are revocable the acts made with the
a intenção de prejudicar credores, provando-se o     intention to harm creditors, proving the fraudulent
conluio fraudulento entre o devedor e o terceiro     conveyance between the debtor and the third party
que com ele contratar e o efetivo prejuízo           that with it contracts and the effective loss suffered
sofrido pela massa falida.                           by the bankrupt estate.

Art. 132. A ação revocatória, de que trata o art.    Art. 132. The revocatory claim, dealt with in art. 130
130 desta Lei, deverá ser proposta pelo              of this Law, shall be filed by the judicial
administrador judicial, por qualquer credor ou       administrator, by any creditor or by the Public
pelo Ministério Público no prazo de 3 (três) anos    Prosecutor within three (3) years counted from the
contado da decretação da falência.                   decree of bankruptcy.;



Article 17, Law 8.078/1990 (Consumer Code):

              PORTUGUESE                                                ENGLISH

Art. 17. Para os efeitos desta Seção, equiparam-    Art. 17. To the matters of this section, all victims of
se aos consumidores todas as vítimas do             the event are equivalent to consumers;
evento.


Article 14 and Article 25, Law 8.078/1990 (Consumer Code):

              PORTUGUESE                                                ENGLISH

                   SEÇÃO III                                             SECTION III
Art. 14. O fornecedor de serviços responde,         Art. 14. The service provider is liable, regardless of
independentemente da existência de culpa,           intent, for the damages caused to consumers by
pela reparação dos danos causados aos               defects related to the services provided, as well as by
consumidores por defeitos relativos à               insufficient or inadequate information on its fruition
prestação dos serviços, bem como por                and risks.
informações insuficientes ou inadequadas
sobre sua fruição e riscos.
             Case 16-01315-LMI          Doc 33       Filed 11/14/16       Page 25 of 47




             PORTUGUESE                                                 ENGLISH
Art. 25. É vedada a estipulação contratual de      Art. 25. The contractual provision that precludes,
cláusula que impossibilite, exonere ou atenue a    exempts or attenuates the indemnification obligation
obrigação de indenizar prevista nesta e nas        provided on this and on the previous sections is
seções anteriores.                                 hereby prohibited.

§ 1° Havendo mais de um responsável pela           § 1 If there is more than one responsible for causing
causação do dano, todos responderão                the damage, all will be jointly liable for the
solidariamente pela reparação prevista nesta e     reparation provided on this and on the previous
nas seções anteriores.                             sections.



Article 27, Law 8.078/1990 (Consumer Code):

              PORTUGUESE                                                 ENGLISH

Art. 27. Prescreve em cinco anos a pretensão à      Art. 27. The statute of limitation for claims of
reparação pelos danos causados por fato do          damages caused by facts of the products or services
produto ou do serviço prevista na Seção II deste    established in section II of this Chapter is five years,
Capítulo, iniciando‐se a contagem do prazo a        counted from the knowledge of the damage and its
partir do conhecimento do dano e de sua             causer.
autoria.
Case 16-01315-LMI   Doc 33   Filed 11/14/16   Page 26 of 47




                                              EXHIBIT “3”
          Case 16-01315-LMI         Doc 33     Filed 11/14/16      Page 27 of 47




                                   POWER OF ATTORNEY



Hereby LUIS FELIPPE INDIO DA COSTA, Brazilian, consensually divorced, lawyer, Id n.º 912.072-
6-IFP/RJ, SSN. 006.034.067-34, with address at Estrada da Gavea, Rio de Janeiro, RJ POBOX
22451-262, constitutes as formal attorneys: FLAVIO ANTONIO ESTEVES GALDINO, Brazilian,
lawyer, BAR nº 94.605 - RJ; with supplementary register on São Paulo´s Lawyer´s Order BAR nº
346.829; RAFAEL BARUD CASQUEIRA PIMENTA, Brazilian, lawyer, BAR nº 142.307 - RJ GABRIEL
ROCHA BARRETO, Brazilian, lawyer, BAR nº 142.554 – RJ; PEDRO RENATO DE SOUZA MOTA,
brazilian, lawyer, BAR nº 177.509 – RJ; LIA STEPHANIE SALDANHA POMPILI, Brazilian, single,
BAR nº 190.294 – RJ; ANDRÉ COATIS FURQUIM WERNECK, Brazilian, lawyer, BAR nº 189.152 –
RJ; headquartered at this city at Brigadeiro Faria Lima Avenue, n. 3900, 11 floor, Itaim Bibi,
POBOX 04538-132, granting the powers ad judicia et extra, including appointing substitutes, to
represent the grantor on the case files of the Bankruptcy Procedure n. 1071548-
40.2015.8.26.0100, in course on the 2nd Bankruptcy and Judicial Reorganization Court of São
Paulo, and all related files, appeals and other connected files.



                                 São Paulo, august 26, 2015

                                LUIS FELIPPE INDIO DA COSTA
                                                                                                                                                                              Case 16-01315-LMI
                                                                                                                                                                              Doc 33




                                                                                                   Índio da Costa -
                                                                                                                                                                              Filed 11/14/16




                                                                                                                                 Doc. 01.F
                                                                                                                                                                              Page 28 of 47




                                                                                        - Procuração e documentos Luis Felippe
                                                                                                                                                                          fls. 173




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                                  PROCURA<:AO




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Pelo presente instrumento particular de mandata, LUIS FELIPPE INDIO DA COSTA,
brasileiro, separado consensualmente, advogado, portador da carteira de identidade nQ
912.072-6-IFP /RJ, inscrito no CPF/MF sob o nQ 006.034.067-34, residente na Estrada da
Gavea, nQ 127, Gavea, Rio de Janeiro, RJ, CEP: 22451-262, nomeia e constitui seus
bastantes procuradores os advogados FLAVIO ANTONIO ESTEVES GALDINO, brasileiro,
advogado, inscrito na OAB/RJ sob o nQ94.605, com inscriyao suplementar na OAB/SP sob
o nQ 256.441, JOAO MENDES DE OLIVEIRA CASTRO, brasileiro, advogado, inscrito na
OAB/RJ sob o n2 134.474, com inscriyao suplementar na OAB/SP sob o n2 346.829;
RAFAEL BARUD CASQUEIRA PIMENTA, brasileiro, advogado, inscrito na OAB/RJ sob o nQ




                                                                                            Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 2180570-25.2015.8.26.0000 e código 1B366DB.
142.307; GABRIEL ROCHA BARRETO, brasileiro, advogado, inscrito na OAB/RJ sob o nQ
142.554; PEDRO RENA TO DE SOUZA MOTA, brasileiro, advogado, inscrito na OAB/RJ sob
o nQ 177.509; LIA STEPHANIE SALDANHA POMPILI, brasileira, solteira, inscrita na
OAB/RJ sob o n2 190.294; e ANDRE COATES FURQUIM WERNECK, brasileiro, advogado,
inscrito na OAB/RJ nQ189.152; todos com escrit6rio nesta cidade, na Av. Brigadeiro Faria
Lima, n2 3900, 112 an dar, Itaim Bibi, CEP: 04538-132, outorgando-lhes todos os poderes
da clausula ad judicia et extra, incluindo os de substabelecer, para representar o
Outorgante nos autos do procedimento falimentar nQ 1071548-40.2015.8.26.0100, em
curso perante a 22 Vara de Falencias e Recuperayoes Judiciais daComa rca de Sao Paulo e
todos os incidentes, recursos e ayoes a ele relacionados.


                             Sao Paulo, 26 de agosto de 2015
                                          "
                                   ~{/)L
                             LUIS FELI PPE INDIO OA COSTA
                                                                                                                                                                              Case 16-01315-LMI
                                                                                                                                                                              Doc 33
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                                              EXHIBIT “4”
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                      PUBLIC PROSECUTOR OFFICE

HONORABLE JUDGE OF THE 2ND BANKRUPTCY AND JUDICIAL REORGANIZATION
COURT OF THE CENTRAL COURTS OF THE JUDICIAL DISTRICT OF THE CITY OF SÃO
PAULO




Reference:
Digital file nº 1071548-40.2015.8.26.0100
Bankruptcy
Bankruptcy of Cruzeiro do Sul S / A. Bank

        The Representative of the Public Prosecutor's Office of the State of São
Paulo at the end undersigned, within the records of the bankruptcy Estate of
Banco Cruzeiro do Sul S.A., Digital File No. 1071548-40.2015.8.26.0100,
respectfully, hereby at the presence of Your Honor, informs that on the ongoing
transnational bankruptcy proceeding at the "UNITED STATES BANCKRUPTCY
COURT SOUTHERN DISTRICT OF FLORIDA MIAMI DIVISION", case 16-01315-LMI,
Chapter 15 (attached), where the Estate of Banco Cruzeiro do Sul S/A filed a claim
denominated “Constructive Trust” trough the North-America legal system among
other claims, , against the offshore companies "Alinia Corporation", "The British
Virgin Islands Company Limited by Shares" and "110 CPS, Inc.", "British Virgin
Islands Company Limited by Shares ", the bankrupt parties, Luiz Felippe Indio da
Costa and Luiz Octávio Índio da Costa, controllers of the above mentioned
companies, filed a defense and affirmed on item" B ", denominated "The Plaintiff
Has Failed to Allege that it is Authorized to Bring This Action", that the Public
Prosecutor's Office in these proceedings had questioned the authority of the
Judicial Administrator to engage counsel in Florida for the purpose of filing a
transnational bankruptcy proceeding, as extracted from the attached document
and its corresponding translation:


       B. The Plaintiff Has Failed to Allege that it is Authorized to Bring This
       Action
       Case 16-01315-LMI     Doc 33   Filed 11/14/16   Page 33 of 47




                      PUBLIC PROSECUTOR OFFICE

       The Plaintiff is a Brazilian trustee, appointed by the Brazilian Bankruptcy
       Court. Pursuant to Brazilian bankruptcy law and procedure, a Brazilian
       trustee must be authorized by the court in Brazil before incurring
       significant expenses such as retaining Miami counsel and embarking on
       complex litigation in the United States. The Plaintiff has not alleged that it
       has received leave from the Brazilian Court to engage counsel here,
       commence the bankruptcy or file this action and probably cannot make
       this allegation. Indeed, this is the subject of questions posed to the
       bankruptcy court in Brazil by the Sao Paulo Public Prosecutor who has the
       duty of supervising the activities of the Trustee. An English translation of
       the portion of the Prosecutor’s report questioning the Trustee’s authority
       to retain Florida counsel and file the instant proceedings is attached
       hereto as Exhibit 1.

       B. O demandante falhou em comprovar que estaria autorizado a ajuizar
       essa ação.

       O demandante é um Administrador Judicial Brasileiro, nomeado pela
       Corte Brasileira de Falência. De acordo com a Lei Brasileira de Falências,
       um administrador judicial brasileiro deve estar autorizado pelo Tribunal
       Brasileiro antes de incorrer em despesas significativas, tais como a
       contratação de advogados em Miami e o embarque em litígio complexo
       nos Estados Unidos. O Demandante não alegou ter recebido autorização
       do Tribunal Brasileiro para contratar advogado aqui, iniciar a falência ou
       ajuizar esta ação e, provavelmente, não pode fazer essa alegação. De fato,
       este é o objeto dos questionamentos apresentados à Corte de Falência no
       Brasil pelo Ministério Público de São Paulo, que tem o dever de
       supervisionar as atividades do Administrador Judicial. Uma tradução em
       inglês da parte da quota do promotor questionando a autoridade do
       Administrador Judicial para contratar advogados na Flórida e ajuizar o
       presente processo está anexada como Anexo 1.

        It happens that the above statement does not portray the opinion filed by
this Office of Justice.

        In fact, as inferred from the reading of the item 86 of pages 11192, the
petition of this Office of Justice summarized the statements made by the
        Case 16-01315-LMI    Doc 33   Filed 11/14/16   Page 34 of 47




                       PUBLIC PROSECUTOR OFFICE

bankrupt parties on pages 10.668 / 10.672, and this Public Prosecutor's Office has
manifested itself in the sense that the Judicial Administrator should be heard, as
required by due process of law, on the inquiries that were made, so only then an
evaluation of what was alleged could be issued.

       There was, at no time, the questioning alleged, even because the
authorization for the engagement was made in a file separated from the main
proceedings, established for the purpose of locating and collecting assets of the
bankrupt estate.

      The aforementioned filed was established under seal to prevent the
bankrupt parties to dissipate the assets before their collection.

         With the establishment of an incident of its own, the question raised by
the bankrupt parties on pgs. 10,668 / 10,672 and 11,024 / 11,025 were surpassed,
and this court, on item 6 of pgs. 11,612 denied the bankrupted parties access to
the file (attached).

        It is thus seen that the Public Prosecution Office is aware of the existence
and oversees the file that is being conducted under seal, being that all measures
taken by the Judicial Administrator to file abroad, including case 16-01315-LMI ,
were dully authorized by the bankruptcy judge after the opinion of the Public
Prosecutor's Office, and its actions are in accordance to the provisions of article
22, item III, letter "f" c and article 108 of Law 11,101 / 05, which determines to
the Judicial Administrator the duty to collect the assets and documents of the
debtor, and for that purpose must gather elements of conviction that justify the
adoption of precautionary measures necessary to collect books, documents and
assets of the bankrupt parties, wherever they are, with no harm to eventual
criminal measures.

        From the foregoing, it is made clear that bankrupted party attempt to
mislead the United States Bankruptcy Court of Florida Miami Division, with a
misleading statement about the opinion of the Public Prosecutor's Office and the
procedures adopted by this Court, for which it is REQUIRED to be determined to
the Judicial Administrator to promote the extraction of a copy of this statement,
translation thereof and referral to COURT SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION, case 16-01315-LMI, for the due purposes of law .
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             PUBLIC PROSECUTOR OFFICE




               São Paulo, November 09, 2016.


           Eronides Aparecido Rodrigues dos Santos
                      Public Prosecutor
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              MINISTÉRIO PÚBLICO DO ESTADO DE SÃO PAULO




Excelentíssimo Senhor Doutor Juiz de Direito da 2ª Vara de Falências e
Recuperações Judiciais do Fórum Central da Comarca de São Paulo.




                                                                                            Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 1071548-40.2015.8.26.0100 e código 28A8FA7.
Referência:
Processo digital nº 1071548-40.2015.8.26.0100
Ação Falimentar.
Massa Falida do Banco Cruzeiro do Sul S/A.




                      O Representante do Ministério Público do Estado de
São Paulo ao final assinado, nos autos da ação falimentar de Massa Falida do
Banco Cruzeiro do Sul S/A, Processo digital nº 1071548-40.2015.8.26.0100,
vem respeitosamente a presença de Vossa Excelência informar que nos autos
da ação de falência transnacional em curso na “UNITED STATES BANCKRUPTCY
COURT SOUTHERN DISTRICT OF FLORIDA MIAMI DIVISION”, case 16-01315-
LMI, Chapter 15 (doc. anexo), onde a Massa Falida do Banco Cruzeiro do Sul

                                                                           1
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              MINISTÉRIO PÚBLICO DO ESTADO DE SÃO PAULO




S/A ajuizou ação denominada “Constructive Trust” pelo sistema legal Norte-
Americano e outros pedidos relacionados contra as empresas offshore “Alinia
Corporation”, “A British Virgin Islands Company Limited by Shares” and “110
CPS, Inc.”, “A British Virgin Islands Company Limited by Shares”, os falidos, Luiz
Felippe Índio da Costa e Luiz Octávio Índio da Costa, controladores das
referidas empresas, apresentaram defesa e afirmaram no item “B”,




                                                                                                             Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 1071548-40.2015.8.26.0100 e código 28A8FA7.
denominado “The Plaintiff Has Failed to Allege that it is Authorized to Bring
This Action”, que o Ministério Público, nestes autos, teria questionado a
autoridade do Administrador Judicial para contratar advogados na Flórida
com o objetivo de ajuizar processo de falência transnacional, conforme texto
extraído do documento anexo e sua correspondente tradução:


             B. The Plaintiff Has Failed to Allege that it is Authorized to Bring This Action

             The Plaintiff is a Brazilian trustee, appointed by the Brazilian Bankruptcy
             Court. Pursuant to Brazilian bankruptcy law and procedure, a Brazilian
             trustee must be authorized by the court in Brazil before incurring significant
             expenses such as retaining Miami counsel and embarking on complex
             litigation in the United States. The Plaintiff has not alleged that it has
             received leave from the Brazilian Court to engage counsel here, commence
             the bankruptcy or file this action and probably cannot make this allegation.
             Indeed, this is the subject of questions posed to the bankruptcy court in
             Brazil by the Sao Paulo Public Prosecutor who has the duty of supervising
             the activities of the Trustee. An English translation of the portion of the
             Prosecutor’s report questioning the Trustee’s authority to retain Florida
             counsel and file the instant proceedings is attached hereto as Exhibit 1.




                                                                                           2
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              MINISTÉRIO PÚBLICO DO ESTADO DE SÃO PAULO




            B. O demandante falhou em comprovar que estaria autorizado a ajuizar
            essa ação.

            O demandante é um Administrador Judicial Brasileiro, nomeado pela Corte
            Brasileira de Falência. De acordo com a Lei Brasileira de Falências, um
            administrador judicial brasileiro deve estar autorizado pelo Tribunal
            Brasileiro antes de incorrer em despesas significativas, tais como a
            contratação de advogados em Miami e o embarque em litígio complexo nos
            Estados Unidos. O Demandante não alegou ter recebido autorização do
            Tribunal Brasileiro para contratar advogado aqui, iniciar a falência ou ajuizar
            esta ação e, provavelmente, não pode fazer essa alegação. De fato, este é o




                                                                                                           Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 1071548-40.2015.8.26.0100 e código 28A8FA7.
            objeto dos questionamentos apresentados à Corte de Falência no Brasil pelo
            Ministério Público de São Paulo, que tem o dever de supervisionar as
            atividades do Administrador Judicial. Uma tradução em inglês da parte da
            quota do promotor questionando a autoridade do Administrador Judicial
            para contratar advogados na Flórida e ajuizar o presente processo está
            anexada como Anexo 1.



                        Ocorre     que     a    afirmação       acima     não     retrata
corretamente a manifestação desta Promotoria de Justiça.



                        Com efeito, conforme se infere da leitura do item 86 de
fls. 11192, a manifestação desta Promotoria de Justiça se resumiu na
transcrição das afirmações feitas pelos próprios falidos nas fls. 10.668/10.672,
tendo essa Promotoria de Justiça se manifestado no sentido de ouvir o
Administrador Judicial, como manda o devido processo legal, sobre os
questionamentos que foram feitos, para somente depois proferir juízo de
valor quanto ao que foi alegado.




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               MINISTÉRIO PÚBLICO DO ESTADO DE SÃO PAULO




                       Não houve, em nenhum momento, o questionamento
alegado, até porque a autorização para que houvesse a contratação foi
formulada em incidente apartado dos autos principais, instaurado com a
finalidade de localizar e arrecadar bens da massa falida.

                       Aludido incidente foi instaurado em segredo de justiça
para evitar que os falidos dissipassem esses bens antes mesmo da sua




                                                                                             Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 1071548-40.2015.8.26.0100 e código 28A8FA7.
arrecadação.

                       Com a instauração de incidente próprio, a questão
levantada pelos falidos às fls. 10.668/10.672 e 11.024/11.025 restou
superada, tendo este Juízo, no item 6 de fls. 11.612 indeferido o acesso dos
falidos a esse incidente (doc. anexo).

                       Vê-se, desta forma, que o Ministério Público tem
conhecimento da existência do incidente que tramita em segredo de justiça e
o supervisiona, sendo que todas as ações do Administrador Judicial para
propositura de ações no exterior, inclusive no case 16-01315-LMI, foram
autorizadas pelo juiz depois de colhida a opinião do Ministério Público,
estando sua atuação em consentâneo com o disposto no artigo 22, inciso III,
letra “f” c/c artigo 108 da Lei nº 11.101/05, que determina ao Administrador
Judicial o dever de arrecadar os bens e documentos do devedor, e que para
tanto deve coletar elementos de convicção que justifiquem a adoção de
medidas acautelatórias necessárias para arrecadar livros, documentos e bens
do falido, onde quer que estejam, sem prejuízo das medidas criminais daí
decorrentes.


                                                                            4
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                MINISTÉRIO PÚBLICO DO ESTADO DE SÃO PAULO




                     Do exposto, serve a presente para esclarecer que os
falidos, ao distorcerem as palavras desta Promotoria de Justiça, tentam
induzir em erro a Corte Norte Americana (“United States Banckruptcy Court
Southern District of Florida Miami Division”), com afirmação equivocada sobre
a atuação do Ministério Público e os procedimentos adotados por este Juízo




                                                                                             Para conferir o original, acesse o site https://esaj.tjsp.jus.br/esaj, informe o processo 1071548-40.2015.8.26.0100 e código 28A8FA7.
na condução desta falência, razão pela qual REQUER seja determinado ao
Administrador Judicial que promova a extração de cópia da presente
manifestação, sua tradução e remessa à COURT SOUTHERN DISTRICT OF
FLORIDA MIAMI DIVISION, case 16-01315-LMI, para os devidos fins de
direito.



                      São Paulo, 11 de novembro de 2016.




                   Eronides Aparecido Rodrigues dos Santos
                               Promotor de Justiça




                                                                           5
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                                              EXHIBIT “5”
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


In re:

MASSA FALIDA DO BANCO
CRUZEIRO DO SUL S.A.,                                                       Case No.:14-22974 –
LMI
                                                                             Chapter 15
      Debtor in a Foreign Proceeding
___________________________________/

         LEGAL OPINION OF ROBERTO GARCIA DE ASSIS OLIVEIRA
    1. My name is Roberto Garcia de Assis Oliveira, OAB/SP 196.359. I am a lawyer licensed
         to act as in Brazil since 2002. I am enrolled in the Brazilian Bar Association Section of
         São Paulo – OAB/SP under Nr. 196.359. My native language is Portuguese, but, having
         attended the Massachusetts Institute of Technology in Cambridge, MA, I am also
         fluent in English.


    2. The following is a brief summary of my education and experience:


         Education


             a. Master of Business Administration from the Massachusetts Institute of
           Technology - MIT Sloan School of Management, 2010
             b. Master’s degree in Commercial Law from the University of São Paulo Law
           School, 2006
             c. Law Degree from the University of São Paulo Law School, 2001


         Professional Experience


                 a.       GTLawyers – Partner and head of the corporate practice of the firm
             (2013-present)
                 b.       Soriano e Woiler Advogados – Senior Associate on the corporate
             practice (2011-2013)
                 c.       Brainloop AG – Business Developer Manager (2010-2011)
                 d.       Saponara, Galvao e Assis Oliveira Advogados – partner and head of
             corporate practice and civil litigation practice (2004-2008)
                 e.       Pinheiro Neto Advogados - associate of corporate practice and civil
             litigation practice (2001-2004)




                                                                                                  1
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   3. For the sake of full and frank disclosure, I have neither a professional nor a personal
       relationship with both Mr. Oreste Laspro and his company Laspro Consultores. I am
       not familiar with the Banco Cruzeiro do Sul bankruptcy, do not have any interest in the
       bankruptcy order which was provided to me by the bankruptcy trustee’s lawyers and
       which order I could confirm its validity. Also, I do not act in any capacity for Banco
       Cruzeiro do Sul, Mr. Laspro, or his company.


   4. I was consulted to issue a legal opinion on the time bar for the filing of a revocatory
       claim. In sum, the question refers to at which moment the statute of limitation shall
       start its counting and to which direction, to the past or to the future.


Scope of Opinion/Examination of Documents


   5. For purposes of this opinion, I have examined the following:


   6. Copies identified to my satisfaction of the bankruptcy decree issued by the 2nd
       Bankruptcy Central Court of the City of São Paulo, State of São Paulo, Case Nr.
       1071548-40.2015.8.26.0100; and
   7. Copies identified to my satisfaction of the Defendants’ Motion to Dismiss Adversary
       Proceeding, filed on October 26, 2016, on the files of Case Nr. 16-01315-LMI with 39
       pages (motion and exhibits).


   8. During the course of such examination, I have assumed that all documents submitted
       to me as copies are true and correct copies of the originals.


Opinions & Qualifications


   9. Based on the foregoing, and having analyzed the files of Case 16-01315-LMI , and the
       files of the bankruptcy lawsuit, filed at the 2nd Court of Bankruptcy of the Central Court
       of the City of São Paulo, State of São Paulo, Nr. 1071548-40.2015.8.26-0100, in which
       Banco Cruzeiro do Sul had its bankruptcy decreed on August 12, 2015, I can affirm that
       the statutes of limitation for filing an avoidance claim against Banco Cruzeiro do Sul’s
       shareholders, officers and related parties is that of August 12, 2018, i.e. three (3) years
       from the decree of bankruptcy of Banco Cruzeiro do Sul.


   10. Also, it is important to note that the statute of limitation of three (3) years indicated
       above is for the filing of the avoidance claims. The three years do not refer to the time
       bar of the transactions effected before the bankruptcy decree. As one can read below,
       of Federal Law 11.101, of February 9th, 2005 (or the Brazilian Bankruptcy and
       Reorganization Law, hereinafter “BBR Law”) clearly splits the bankruptcy term, that of


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       the avoidance claim, including the power and authority to claim back any rights and
       assets on behalf of the bankrupt estate.


   11. The discussion on these files refer specifically to articles 130 and 132 of the BBR Law,
       considering that the plaintiff is requesting avoidance of transfers of title to two
       apartments located in New York city and artwork therein (the apartments and the
       artwork together referred to as “Assets”). Plaintiff alleges that the Assets shall be
       transferred to the bankrupt estate of Banco Cruzeiro do Sul, as the transfer of those
       assets aimed at harming Banco Cruzeiro do Sul’s creditors and Banco Cruzeiro do Sul’s
       bankrupt estate.


   12. While the Assets were transacted two years prior to the bankruptcy decree, so the
       matter is subject to the provisions set forth under article 130 of the BBR Law.
       However, the revocatory claim, which term of three (3) years is set forth under article
       132 of the BBR Law, was filed on July 8th, 2016, within the term established by the BBR
       Law.


   13. Thus, Defendants’ arguments with regards to the statute of limitations of the time
       regarding the Article 130 claims have no grounds and should be rejected.


   14. Please refer below for a detailed analysis of the legal provisions in which this Legal
       Opinion is based.


Chapter V, Section IX, of the BBR Law sets forth the Ineffectiveness and revocation of actions
effected before the Bankruptcy.


   15. Chapter V establishes the foundation for the bankruptcy proceeding and the
       consequences to the bankrupt companies’ shareholders and officer. Article 129 of the
       BBR Law sets forth the rules for the objective ineffectiveness and Article 130 of the
       BBR Law sets for the rules for the subjective ineffectiveness.


Article 129 of BBR Law


   16. Article 129 of the BBR Law sets forth the events that shall be considered ineffective
       with regards to the bankruptcy estate, whether or not, the company, its shareholders
       and/or its officers, had the intention of preventing creditors to have their rights
       fulfilled. Article 129 establishes the events subject to objective ineffectiveness.


   17. No actions of the bankruptcy trustee are necessary. The bankruptcy court may order
       the revocation of any of the actions performed by the company, its shareholders
       and/or its officers, described under Article 129 BBR Law’s items.

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Article 130 of BBR Law


   18. Article 130 of the BBR Law, on the other hand, sets forth the rules regarding transfers
       that may be avoided, in the event that those actions were taken with the intention of a
       loss to creditors of the bankruptcy estate. Article 130 establishes the events subject to
       subjective ineffectiveness.


   19. Differently from the procedure set forth under Article 129 of the BBR Law, the
       bankruptcy trustee must start a specific legal proceeding seeking the avoidance, by
       means of a court order, of the events and/or transactions questioned under Article
       130 of the BBR Law.


   20. The term for the filing of the legal proceeding set forth under Article 130 of the BBR
       Law is three years from the bankruptcy decree. In verbis:


          i. Article 132. The revocatory claim, referred to under Article 130 of this Law, must
             be filed by the judicial administrator, by any creditor or by the Public Attorney’s
             Office, within three (3) years from the decree of bankruptcy (free translation of
             article 132 of the BBR Law).


   21. Article 130 does not set a statute of limitation for the events and/or transaction that
       the bankruptcy court may avoid, in the event of filing of the avoidance claim detailed
       above. Provided that the avoidance claim is filed within three years from the decree of
       bankruptcy, the questioned events and/or transactions may have been affected at any
       time before the decree of the bankruptcy. Fabio Ulhoa Coelho clearly express the
       content of that Article 130 of the BBR Law, in its Comments about the Bankruptcy Law
       and Company Reorganization:


         ii. Thus, independently of the time in which the action was effected, if its aim was
             to harm either creditors or the collection procedures, it shall not have any effects
             with regards to the bankruptcy estate. For instance, one may say that any of the
             action referred to under art. 129, I to IV and VII, of the Bankruptcy Law, but not
             affected by those legal provisions, because effected before the statutes of
             limitation therein, shall be ineffective if proven that the parties acted in a
             fraudulent manner. (Free translation from the portuguese - Coelho, Fabio Ulhoa.
             Comentários à Lei de Falências e de Recuperação de Empresas. São Paulo, SP:
             Thomson Reuters – Revista dos Tribunais, 2016, p. 488)


   22. The Higher Court of the State of São Paulo has also decided on the term, statute of
       limitation and subjective ineffectiveness. The decision to which we refer to was issued

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        on a judgement that took place on April 24, 2008, at the 4th Chamber of Private Law,
        case number 9215717-71.2007.8.26.0000. Such decision mentions that “It is also
        certain that the legal term of the bankruptcy is set to the term prior to the decree of
        bankruptcy and which actions of the bankrupt company as deemed as suspect.
        However, the peculiarity of the case allows to decree the revocation of the actions
        effected before the legal term of the bankruptcy without such revocation harming the
        legal     act.”      (available     at       http://esaj.tjsp.jus.br/cjsg/getArquivo.do?cd
        Acordao=2586195&cdForo=0&vlCaptcha=wewxp)


Article 884 of the Brazilian Civil Code and Statute of limitation set forth under Article 206,
paragraph 3rd, Item IV of the Brazilian Civil Code


    23. Article 884 of the Brazilian Civil Code sets forth the obligation of anyone that is
        unjustly enriched without cause and at the expense of other party to repay such
        amount to the affected party.


    24. Article 884 alone does not establish the statute of limitations for the lawsuit to reclaim
        the amounts that are deemed to be fraudulent. Article 206, paragraph 3rd, Item IV, of
        the Brazilian Civil Code sets forth that the statute of limitations for the filing of this
        type of lawsuit is three years.


    25. Considering the case under analysis, the unjust enrichment with a loss to a third party
        occured upon the decree of bankruptcy of Banco Cruzeiro do Sul, that took place on
        August 12th, 2015. Consequently, the harmed party has three years following the
        decree of bankruptcy to file a claim of unjust enrichment regarding whichever
        transaction he/she/it considers suspect and fraudulent.


Law 8.078/1990


    26. Law 8.078/1990 also known as the Consumer Protection Law sets forth, under Article
        27, a lawsuit for reclaiming any amount arising from any action, product or service.
        The statute of limitations begins to run from knowledge of the loss.


    27. Considering the case under analysis, the statute of limitations for the unjust
        enrichment did not being to run until the decree of bankruptcy of Banco Cruzeiro do
        Sul, that took place on August 12th, 2015. Consequently, the trustee has five years
        following the decree of bankruptcy to file a claim of unjust enrichment of whichever
        transaction he/she/it considers suspect and fraudulent.


Limitation as to Particular Laws and Reliance on this Opinion.


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28. As to matters of law, I limited in my opinion to the laws of Brazil, and my opinions are
    limited to the facts and laws in existence on the date of this opinion.


    I have executed this Legal Opinion under penalty of perjury under the laws of the
    United States of America, 28 U.S.C. §1746, this 14 day of November, 2016.


                                    Very truly yours,


                            Roberto Garcia de Assis Oliveira
                                    OAB/SP 196.359




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